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N. HATTEN, C|ed¢
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nIsTRJCT oF GEORGIA

Hardee Bey doing businessas § CASENO: n lr] w a {/ `03 é §§ £L/L

HARDEE, BENJAMIN O’NEIL corporate sole §
doing business as BENJAMIN HARDEE doing
business as BEN EL BEY
Counterclaimant

district court of the United States

Amended
v.
STATE OF GEORGIA Re: Writ Denying Defendants Motions To
BRlAN KEMP Dismiss and Incorporated Memorandum of
ATLANTA MUNICIPAL COURT Law
RYAN SHEPARD
RAINES CARTER
FULTON COUNTY SHER.IFF’S OFFICE
THEODORE JACKSON
JAMES BULLOCK, BADGE NO. 0884

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COUNTERDEFENDANTS

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Writ of Denial
1. COMES NOW TI-IE COURT TO REVIEW TI-IE MO'I`IONS entered on the record by
defendants to dismiss the case and incorporated memorandum of law in support.
2. Some of the defendants have entered motions moving the court to dismiss the above entitled
action based on code foreign to this court.
3. The court has considered all arguments entered on the record by the defendants and the rebuttal
by the counterclaimant
DETAIL
4. The following is organized into three sections:
I. J udicial cognizance
Il. Findings of facts, Discussion and Conclusion of Law
III. lmpeachment and Writ
I. Judicial Cognizance
5. This court takes judicial cognizance of and decrees the following:
6. IUDICIAL COGNIZANCE: Judicial notice, or knowledge upon which a judge is bound to act

without having it proved in evidence. [Black's Law Dictionary, 5"l Edition, page 760.]

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”)'. The people of Georgia do not waive their sovereignty to the agencies that serve them being the
sovereigns who ordained and established the Constitution for the Georgia sta'te.I

8. Two distinguishing and critical characteristics of a court of record are; A judicial tribunal
having attributes and exercising functions independently of the person of the magistrate
designated generally to hold it, AND Proceeding according to the course of common law.

9. The United States shall guarantee to every State in this Union a Republican Form of
Government, ...2

10. ...at the Revolution, the sovereignty devolved on the people; and they are truly the sovereigns
of the country, but they are sovereigns without subj ects...with none to govern but
themselves ..... [CHISI-IOLM v. GEORGIA (US) 2 Dall 419, 454, l L Ed 440, 455 @DALL
(1793) pp471-472.]

11. The very meaning of 'sovereignty' is that the decree of the sovereign makes law. [American
Banana Co. v. United Fruit Co., 29 S.Ct. 511, 513, 213 U.S. 347, 53 L.Ed. 826, 19 Ann.Cas.
104?.]

12. The people of this State, as the successors of its fenner sovereign, are entitled to all the rights
which formerly belonged to the King by his prerogative [Lansing v. Smith, 4 Wend. 9 (N.Y.)
(1829), 21 Am.Dec. 89 IOC Const. Law Sec. 298; 18 C Ern.Dom. Sec. 3, 228; 37 C Nav.Wat.
Sec. 219; Nuls Sec. 16'?; 48 C Wharves Sec. 3, ?.]

13. A consequence of this prerogative is the legal ubiquizy of the king. I-Iis majesty in the eye of

 

1 .. ...We the people of the Georgia, relying upon the protection and guidance of A|mighty God, do orda`m and establish

this Conslitution. - Georgia Constitution Prearnble

2 Constitution for the United States of America ~ Article IV Section 4.

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the law is always present in all his courts, though he cannot personally distribute justice
(Fortesc.c.S. 2Inst.186) His judges are the mirror by which the king's image is reflected. l
Blackstone's Commentaries, 2?0, Chapter 7, Section 379.

The state cannot diminish rights of the people. [I-lertado v. California, 100 US 516.]

The assertion of federal rights, when plainly and reasonably made, is not to be defeated under
the name of local practice [Davis v. Wechsler, 263 US 22, 24.]

Where rights secured by the Constitution are involved, there can be no rule making or
legislation which would abrogate them. [Miranda v. Arizona, 384 US 436, 491 .]

There can be no sanction or penalty imposed upon one because of this exercise of
constitutional rights [Sherar v. Cullen, 481 , F 946.]

Republican government One in which the powers of sovereignty are vested in the people and
are exercised by the people, either directly, or through representatives chosen by the people, to
whom those powers are specially delegated [In re Duncan, 139 U.S. 449, 11 S.Ct. 573, 35
L.Ed. 219; Minor v. Happersett, 88 U.S. (21 Wall.) 162, 22 L.Ed. 62’?." Ellack's Law
Dictionary, Fifth Edition, p. 626.]

This Constitution, and the Laws of the United States which shall be made in Pursuance thereof;
and all Treaties made, or which shall be made, under the Authority of the United States, shall
be the supreme Law of the Land; and the Judges in every State shall be bound thereby; any
Thing in the Constitution or Laws of any State to the Contrary notwithstanding [Constitution

for the United States of Arnerica, Article Vl, Clause 2.]

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20. COURT. The person and suit of the sovereign; the place where the sovereign sojoums with his
regal retinue, wherever that may be. [Black's Law Dictionary, Sth Edition, page 318.]

21. COURT. An agency of the sovereign created by it directly or indirectly under its authority,
consisting of one or more oft'icers, established and maintained for the purpose of hearing and
determining issues of law and fact regarding legal rights and alleged violations thereof, and of
applying the sanctions of the law, authorized to exercise its powers in the course of law at
times and places previously determined by lawful authority. [Isbill v. Stovall, Tex.Civ.App.,
92 S.W.Zd 106?', 10?0; Black's Law Dictionary, 4th Edition, page 425]

22. Pursuant to the NRS 1.020111€ Municipal Court, District Court is required to be a court of
record. See: NRS 1.020 NRS. 1.020 Courts of record. The following courts are courts of

record:

l. The Supreme Court;

2. The Court of Appeals;
3. The district courts;

4. The Justice courts; and
5. The municipal courts:

(a) In any case in which a jury trial is required; or
(b) If so designated pursuant to NRS 5.010.
23. COURT OF RECORD. To be a court of record a court must have four characteristics and

may have a fifth. They are:

A. A judicial tribunal having attributes and exercising functions independently of the person
ofthe magistrate designated generally to hold it [Jones v. lones, 188 Mo.App. 220, 1?5 S.W.
227, 229; Ex parte Gladhill, 8 Metc. Mass., 171 , per Shaw, C.J. See, also, Ledwith v.

Rosalslcy, 244 N.Y. 406, 155 N.E. 688, 689][Black's Law Dictionary, 4th Ed., 425, 426]

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B. Proceeding according to the course of common law [Jones v. Jones, 188 Mo.App. 220, 175
S.W. 227, 229; Ex parte Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v.
Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689][Blaclr‘s Law Dictionary, 4th Ed., 425, 426]

C. Its acts and judicial proceedings are enrolled, or recorded, for a perpetual memory and
testimony. (3 Bl. Cornm. 24; 3 Steph. Comm. 383; The Thomas Fletcher, C.C.Ga., 24 F. 481;
Ex parte Thistleton, 52 Cal 225; Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A. 229; Heininger v.
Davis, 96 Ohio St. 205, 117 N.E. 229, 2310)

D. Has power to fine or imprison for contempt [3 Bl. Cornm. 24; 3 Steph. Comm. 383; The
Thomas Fletcher, C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S., D.C.Ga.,
37 F. 488, 2

L.R-A. 229; Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229, 231.][Black's Law Dictionary,
4th Ed., 425, 426]

E. Genera.lly possesses a seal. [3 Bl. Comm. 24; 3 Steph. Comm. 383; "lhe Thomas Fletcher,
C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S., D.C.Ga., 37 F. 488, 2
L.R.A. 229; Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229, 231.][B1ack's Law Dictionary,
4th Ed., 425, 426] See also: The Constitution of the State of Nevada, Article 6, § 9.

Article 6, § 9. Municipal courts. Provision shall be made by law prescribing the powers[,]
duties and responsibilities of any Municipal Court that may be established in pursuance of
Section One, of this Article; and also fixing by law the jurisdiction of said Court so as not to

conflict with that of the several courts of Record.

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24. ...our justices, sheriffs, mayors, and other ministers, which under us have the laws of our land
to guide, shall allow the said charters pleaded before them in judgement in all their points, that
is to wit, the Great Charter as the common law.... [Conflrrnatio Cartarum, November 5, 1297“
"Sources of Our l_,iberties" Edited by Richard L. Perry, American Bar Foundation.]

25, I-Ienceforth the writ which is called Praecipe shall not be served on any one for any holding so
as to cause a free man to lose his court Magna Carta, Article 34.

26. Trespass. Any misfeasance or act of one man whereby another is injuriously treated or
damnified. 3 Bl. Cornm. 208 An injury or misfeasance to the person, or rights of another
person, done with force and violence, either actual or implied in law.3

21 Trespass. ln its more limited and ordinary sense, it signifies an injury committed with violence,
and this violence may be either actual or implied; and the law will imply violence though none
is actually used...4

28 . “lnferior courts” are those whose jurisdiction is limited and special and whose proceedings are
not according to the course of the common law.” Ex Parte Keamy, 55 Cal. 212; Smith v.
Andrews, 6 Cal. 652; Criminal courts proceed according to statutory law. Jurisdiction and
procedure is defined by statute. Likewise, civil courts and admiralty courts proceed according
to statutory law. Any court proceeding according to statutory law is not a court of record
(which only proceeds according to common law); it is an inferior court

29. However, no statutory or constitutional court (whether it be an appellate or supreme court) can

second guess the judgment of a court of record. “The judgment of a court of record whose

 

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jurisdiction is tinal, is as conclusive on all the world as the judgment of this court would be. lt
is as conclusive on this court as it is on other courts. lt puts an end to inquiry concerning the
fact by deciding it" Ex parte Watlcins, 3 Pet., at 202-203. [cited by SCH'NECKLOTl-l v.
BUSTAMONTE, 412 U.S. 218, 255 (1973)]

II.

Findings of Fact, Discussion and Conclusion of Law

30. The records show the counterclaimant Hardee Bey filed an action against counterdefendants

31.

32.

33.

named herein;

The inferior court is not permitted to proceed against any people without first proving its
jurisdiction on the record, whether the officer presiding over said court has been specifically
naruc as a defendant or not Public servants do not have immunity for exceeding their
jurisdiction, since once the jurisdiction has been exceeded, the public servants becomes merely
any other individual causing a trespass on one he has not authority over.

Reginald B. McClendon, Amber A. Robinson, Patrise Perkins-Hooker, Kaye W. Burwell,
Ashley Palmer, and Jonathan D. Loegel are foreign agents granted a title of nobility from a
foreign corporation and assigned a BAR member numbers 154793,141660, 572358, 775060,
603514, and 75 5?06 and still proceeds in committing acts of treason against the people of
Georgia.

Reginald B. McClendon, Amber A. Robinson, Patrise Perkins-Hooker, Kaye W. Burwell,
Ashley Palmer, and Ashley Palmer, and Jonathan Loegel have not registered with the United

States of America as required by the Foreign Agent Registration Act.

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ORDER

34. IT IS HEREBY THE ORDER OF THIS COURT that all defendants motion to dismiss the
above entitled action are hereby DENIED.

35. IT IS FURTHER THE ORDER OF THIS COURT THAT any and all defendants and any
other party aiding said defendants are restrained form any action against the claimant until
such time as defendants and others aiding said defendants have proven jurisdiction over
claimant on the record of this court

36. IT lS FURTI-IER THE ORDER OF TI-IIS COURT that any fi.irther rogue interference of this
court by any officer shall be contempt of this court and said perpetrator will be in held in
contempt without motion and without hearing.

37. l'l` lS FURTHER THE ORDER OF THIS COURT that all parties to this action are invited to

provide as evidence to this court within 20 days why this order is not valid.

Witness the seal of this court this day of November, 2017.
The Court

By: |'{ardee Bey
Attomatus Privatus

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CERTIFICATE OF SERVICE
l, certify that the true and correct copy of the foregoing document Writ Denying Det`endants Motion to
Disrniss and lncorporated Memorandum of Law will be served upon by placing it in a sealed envelope
First Class Mail Postage prepaid in the U.S. at Atlanta, Georgia and address mail to:

State of Georgia
Secretary of State
Brian Kemp

2 MLK Jr. Drive SE
Suite 802 West Tower
Atlanta, GA 303 34

James Bullock, Badge No. 0884
GA State Patrol

959 E. Confederate Ave SE
Atlanta, GA 30316

Fulton County Sheriff’s Office
Theodore Jackson

185 Central Ave SW

Atlanta, GA 30303

Dated: day ofNovernber, 2017

Atlanta Municipal Court
Ryan Shepard

150 Garnett St

Atlanta, GA 30303

Atlanta Municipal Court
Raines Carter

150 Gamet St

Atlanta, GA 30303

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